Case 2:04-cr-20289-.]DB Document 46 Filed 06/30/05 Page 1 of 2 Page|D 44

Fll.ED BV ___ ____ D.C.
IN THE UNITED STATES DISTRICT COURT

FoR THE WEsTERN DISTRICT oF TENNESSEE@§ JUN 30 14 3= 51
WESTERN DIVIsroN

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UNITED sTATEs oF AMERICA, CLEBK, U.S. §§SW;_GTOOUT
Piainriff,
v_ NO. 04-20289-B/v

BARRY FERGUSON,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s _Bro _S__e Motion for Appointment of Substitute Counsel
filed on May 23, 2005.

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made Within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the

objections

IT IS SO ORDERED this §Oq\day of June, 2005.

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J. DANIEL BREEN `
o sTATEs orsTRIc'r JUDGE

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This notice confirms a copy of the document docketed as number 46 in
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Honorable J. Breen
US DISTRICT COURT

